             Case 2:22-mj-00045-DUTY Document 2 Filed 01/05/22 Page 1 of 1 Page ID #:2

                                                                                                                   ILEA
Submit this form by e-mail to:
CriminlakeCourlDocs-LAPtacd.uscouris_pov For Los Angeles criminal duty.

CriminlakeCAUC1Uot6.5Af~cntd.ustourls.~ov For Santa Ana criminal duty.                              ?R~9 {a ~J —~       J1 pd ~ 1 % 1_
                                                                                                    LU L J~If           HT!         ~f
CrirnlplakeCouClDoc6•RS@cacd.ustouris.~ov For Riverside criminal duty.


                                               UNITED STATES DISTRICT COURT                             ~`'-~' ~ ~" ~
                                                                                                                    ~'~
                                                                                                                    , ~ ~ ~"' ''
                                             CENTRAL DISTRICT OF CALIFORNIA                         ~ .,~.      ^~,~ __,

                                                                           CASE NUMBER:
UNITED STATES OF AMERICA                                                                         18-05039-02-CR-SW-BP
                                                           PLAINTIFF
                     V.

                                                                                  REPORT COMMENCING CRIMINAL
RAYMOND S. WILLIAMS
                                                                                                    ACTION
 USMS~ 79970-112                                         17EFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT                                                            ~            ~          O O
All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• The defendant was arrested in this district on 01/05/2022                       at 10:00    ❑X AM ❑ PM
    or
    The defendant was arrested in the                        District of                   on                 at            ❑ AM ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:             ~ Yes         ❑x No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                     ~x Yes        ❑ No

4. Charges under which defendant has been booked:

     18 USC 3148

5. Offense charged is a:          ~x Felony         ❑Minor Offense              ❑Petty Offense               ❑Other Misdemeanor

6. Interpreter Required:          ~x No      ❑Yes          Language:

7• Year of Birth: 1977

8. Defendant has retained counsel;                ❑x No
  []Yes           Name:                                                           Phone Number;

9• Name of Pretrial Services Officer notified:             ~~ ~ ~            ~~j~~'

10. Remarks (if any): Defendant Surrendered to the U.S. Marshals without incidenE.

11. Name: B. BAGSIC                                                (please print)

12. Office Phone Number:213-620-7676                                                   13. Agency: U.S. Marshals Service

14. Signature:                                                                         15. Date: 01/05/2022

CR-64(09/20)                                     REPORT COMMENCING CRIMINAL ACTION
